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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                            Chapter     11                                                      ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              MRUCKER INDUSTRIES, INC.



    2. All other names debtor used                Blue Diamond Remodeling, Inc. & BDR
       in the last 8 years
                                                  Blue Diamond M.E.P. LTD Co. & BD MEP
     Include any assumed names,      Exotic Stone Works LLC & ESW
     trade names, and doing business Diamond Millworks LLC & DM
     as names



    3. Debtor's federal Employer                  8      7 – 0     9   3    8   9    8   9
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  237 Benelli Drive
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                  Hutto, TX 78634
                                                  City                                   State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                  Williamson                                                    Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)                     https://www.bluediamondremodeling.com



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
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Debtor      MRUCKER INDUSTRIES, INC.                                                                             Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    2     3   6   1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ✔
                                                      ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor        MRUCKER INDUSTRIES, INC.                                                                       Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑     It needs to be physically secured or protected from the weather.
                                                ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑     Other
                                                Where is the property?
                                                                           Number         Street




                                                                           City                                           State       ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone

          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of
                                       ✔
                                       ❑    1-49 ❑ 50-99                  ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets          ❑    $0-$50,000                       ✔
                                                                             ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                       ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                       ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                       ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor        MRUCKER INDUSTRIES, INC.                                                                                Case number (if known)
             Name



                                            ❑    $0-$50,000                            ✔
                                                                                       ❑     $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑     $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑     $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑     $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     06/29/2023
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Maxwell Rucker                                                     Printed name
                                                                                                                                            Maxwell Rucker
                                                    Signature of authorized representative of debtor


                                                    Title                              CEO



         18. Signature of attorney
                                                ✘                        /s/ Robert C Lane                               Date      06/29/2023
                                                                                                                                   MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Robert C Lane
                                                    Printed name

                                                     The Lane Law Firm
                                                    Firm name

                                                     6200 Savoy Dr Ste 1150
                                                    Number          Street


                                                     Houston                                                                TX              77036-3369
                                                    City                                                                   State            ZIP Code



                                                     (713) 595-8200                                                          notifications@lanelaw.com
                                                    Contact phone                                                           Email address



                                                     24046263                                                                TX
                                                    Bar number                                                              State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 4
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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant
        to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code,
        this Exhibit "A" shall be completed and attached to the petition.]

                                                                      [Caption as in Form 416B]

                                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                                             Bankruptcy under Chapter 11

                1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number is
                               .

                2. The following financial data is the latest available information and refers to the debtor's condition on                    .

                 a. Total assets                                                                                               $1,040,182.18
                 b. Total debts (including debts listed in 2.c., below)                                                        $1,687,047.15
                 c. Debt securities held by more than 500 holders

                                                                                                                                   Approximate
                                                                                                                                   number of
                                                                                                                                   holders:
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 d. Number of shares of preferred stock
                 e. Number of shares common stock

                Comments, if any:


                                                                 Residential Remodeling, Construction, Cabinetry, Countertops, Electrical & Plumbing
                3. Brief description of debtor's business



                 4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
        securities of debtor:




Official Form 201A                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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 Fill in this information to identify the case:

 Debtor name                        MRUCKER INDUSTRIES, INC.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     06/29/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Maxwell Rucker
                                                                                Signature of individual signing on behalf of debtor


                                                                                Maxwell Rucker
                                                                                Printed name


                                                                                CEO
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name                        MRUCKER INDUSTRIES, INC.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Chase                                                                   Credit Card                                                                          $49,013.00
      PO Box BOX 78039
      Phoenix, AZ 85062


2     Chase Cardmember Services                                               Credit Card                                                                          $47,664.73
      PO Box 6294
      Carol Stream, IL 60197


3     Chris Spene                                                             Unpaid                  Disputed                                                     $76,288.68
      c/o Kaplan Law Firm PLLC                                                Commissions -
      3901 S Lamar Blvd Suite 260                                             Blue Diamond
      Austin, TX 78704                                                        Remodeling


4     Fox Capital Group                                                       Merchant Cash           Disputed                                                    $175,000.00
      65 Broadway Suite 804                                                   Advance -
      New York, NY 10006                                                      MRucker Industries



5     Fox Capital Group, Inc.                                                 Mercahant Cash          Disputed                                                    $150,000.00
      140 Broadway 4th Floor                                                  Advance -
      New York, NY 10005                                                      MRucker Industries



6     Gold Funding Group                                                      Merchant Cash           Disputed                                                     $43,701.00
      262 Albany Avenue                                                       Advance - Blue
      Brooklyn, NY 11213                                                      Diamond MEP LTD
                                                                              Co.


7     Hardware Resources                                                      Tools                                                                                $35,266.35
      PO Box 732674
      Dallas, TX 75373


8     Home Depot Credit Services                                              Credit Card - Blue                                                                   $23,872.00
      PO Box 790345                                                           Diamond
      Saint Louis, MO 63179                                                   Remodeling




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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Debtor       MRUCKER INDUSTRIES, INC.                                                                         Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     Home Depot Credit Services                                          Credit Card -                                                                    $10,643.00
      PO Box 790345                                                       Remodel
      Saint Louis, MO 63179                                               Management



10 Internal Revenue Service                                               Debt is for BDR,                                                                $117,296.08
   P.O. Box 7346                                                          DMW, ESW and
   Philadelphia, PA 19101-7346                                            MEP 2019-2021



11 IOU Financial                                                          Commercial Loan -       Disputed                                               $150,000.00
   600 TownPark Lane Suite 100                                            Blue Diamond
   Kennesaw, GA 30144                                                     Remodeling



12 Kapitus LLC                                                            Merchant Cash           Disputed                                                $113,100.00
   2500 Wilson Boulevard Suite 350                                        Advance -
   Arlington, VA 22201                                                    Diamond Millworks



13 LG Funding LLC                                                         Merchant Cash           Disputed                                                 $50,000.00
   1218 Union St Suite 2                                                  Advance - Exotic
   Brooklyn, NY 11225                                                     Stone WOrks



14 NewCo Capital Group                                                    Merchant Cash           Disputed                                               $150,000.00
   25 Robert Pitt Dr 204                                                  Advance - Blue
   Monsey, NY 10952                                                       Diamond
                                                                          Remodeling


15 Protrade Credit                                                        Credit Card -                                                                    $37,943.64
   PO Box 105525                                                          Remodel
   Atlanta, GA 30348-5525                                                 Management



16 U.S. Small Business                                                    SBA Loan - Blue                                                                $150,000.00
   Administration                                                         Diamond
      1545 Hawkins Blvd 202                                               Remodeling
      El Paso, TX 79925

17 U.S. Small Business                                                    SBA Loan - Blue                                                                  $51,600.00
   Administration                                                         Diamond MEP Ltd
      1545 Hawkins Blvd 202                                               Co.
      El Paso, TX 79925

18 U.S. Small Business                                                    SBA Loan - Exotic                                                                $19,800.00
   Administration                                                         Stone Works, LLC
      1545 Hawkins Blvd 202
      El Paso, TX 79925

19 Wex Bank                                                               Invoice - Blue          Disputed                                                 $12,399.15
   P.O. Box 4337                                                          Diamond
   Carol Stream, IL 60197                                                 Remodeling



20 Winston Water Coller of Austin,                                        Invoice Supplies -                                                               $13,548.92
   Ltd                                                                    Blue Diamond
      15605 Tacon Lane                                                    MEP LTD Co.
      Pflugerville, TX 78660

Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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 Fill in this information to identify the case:

 Debtor name                        MRUCKER INDUSTRIES, INC.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)             Type of account                  Last 4 digits of account number
       3.1 Chase Bank                                               Checking account                        1389                                    $32,806.05

       Additional Page Total - See continuation page for additional entries                                                                            $4,941.97

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                       $37,748.02
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ❑ No. Go to Part 3.
       ✔ Yes. Fill in the information below.
       ❑
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit

       7.1                                                                                                                                             $39,750.00




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                          page 1
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Debtor       MRUCKER INDUSTRIES, INC.                                                                            Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       8.1 Blue Diamond Remodeling                                                                                                                    $242,751.00


       Additional Page Total - See continuation page for additional entries                                                                           $104,937.00


  9.   Total of Part 2
                                                                                                                                                      $387,438.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:            $154,279.93               -                  $0.00                    = ...... ➔                        $154,279.93
                                     face amount                            doubtful or uncollectible accounts


         11b. Over 90 days old:                $8,714.23                -                  $0.00                    = ...... ➔                          $8,714.23
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                      $162,994.16
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
             Name



  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

         None


  17. Total of Part 4
                                                                                                                                                     $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of   Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest   for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                       $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                   page 3
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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
             Name



  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                         $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
             Name



  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         39.1 Desks (28)                                                                   (Unknown)                                            $2,584.00


         Additional Page Total - See continuation page for additional entries                                                                  $11,893.00

  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         41.1 CNC (Diamond Millworks)                                                      (Unknown)                                           $30,000.00


         Additional Page Total - See continuation page for additional entries                                                                  $87,500.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                              $131,977.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
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Debtor        MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
             Name



  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         47.1 2017 Chevrolet G2500 / Blue Diamond Remodeling                                 (Unknown)   Fair Market Value                      $21,183.00


         47.2 2017 Chevrolet G2500 / Blue Diamond Remodeling                                 (Unknown)   Fair Market Value                      $18,300.00


         47.3 2016 Ford Transit Van / Blue Diamond Remodeling                                (Unknown)   Fair Market Value                      $11,776.00


         Additional Page Total - See continuation page for additional entries                                                                  $263,262.00

  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         48.1 Dump Trailer / Blue Diamond Remodeling                                         (Unknown)   Fair Market Value                       $4,000.00


         48.1 Car Hauler / Blue Diamond Remodeling                                           (Unknown)   Fair Market Value                       $1,500.00


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                               $320,021.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of   Valuation method used     Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest   for current value         interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest



Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                 page 6
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Debtor       MRUCKER INDUSTRIES, INC.                                                                        Case number (if known)
             Name



         None


  56. Total of Part 9
                                                                                                                                                         $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of       Valuation method used      Current value of debtor's
                                                                                   debtor's interest       for current value          interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         61.1 https://www.bluediamondremodeling.com                                         (Unknown)       Fair Market Value                            $1.00


         Additional Page Total - See continuation page for additional entries                                                                            $3.00

  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                         $4.00
         Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                     page 7
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Debtor        MRUCKER INDUSTRIES, INC.                                                                   Case number (if known)
             Name



  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         75.1 Employee Retention Credit                                                                                                        (Unknown)
         Nature of Claim     ERC
         Amount Requested        (Unknown)


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership



Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                    page 8
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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
             Name



         None


  78. Total of Part 11
                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                  page 9
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Debtor        MRUCKER INDUSTRIES, INC.                                                                                               Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                               $37,748.02

  81. Deposits and prepayments. Copy line 9, Part 2.                                                      $387,438.00

  82. Accounts receivable. Copy line 12, Part 3.                                                          $162,994.16

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                    $131,977.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                           $320,021.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $4.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                $1,040,182.18         + 91b.                           $0.00



                                                                                                                                                                       $1,040,182.18
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                              page 10
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Debtor       MRUCKER INDUSTRIES, INC.                                                                  Case number (if known)
            Name



          Additional Page


       All cash or cash equivalents owned or controlled by the debtor                                                           Current value of debtor's
                                                                                                                                interest

  3.   Checking, savings, money market, or financial brokerage accounts - Continued
       Name of institution (bank or brokerage firm)          Type of account                 Last 4 digits of account number
       3.2 Chase Bank                                            Checking account                       0225                                 $4,093.76

       3.3 Chase Bank                                            Checking account                       0233                                   $758.08

       3.4 Chase Bank                                            Checking account                       0258                                      $4.09

       3.5 Chase Bank                                            Checking account                       0266                                    $86.04


                                                                                                                                Current value of debtor's
                                                                                                                                interest

  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent - Continued
       Description, including name of holder of prepayment
       8.2 Exotic Stone Works                                                                                                                $16,007.00

       8.3 Diamond Millworks                                                                                                                 $11,901.00

       8.4 Blue Diamond M.E.P.                                                                                                               $77,029.00


         General description                                                   Net book value of     Valuation method used      Current value of debtor's
                                                                               debtor's interest     for current value          interest
                                                                               (Where available)

  39. Office furniture - Continued
         39.2 Chairs (34)                                                              (Unknown)                                              $3,143.00

         39.3 Computers (7)                                                            (Unknown)                                              $4,800.00

         39.4 Monitors (3)                                                             (Unknown)                                                $300.00

         39.5 Filing Cabinets (8)                                                      (Unknown)                                                $750.00

         39.6 Tables (2)                                                               (Unknown)                                              $1,200.00

         39.7 Phones (4)                                                               (Unknown)                                                $600.00

         39.8 Copier (5)                                                               (Unknown)                                              $1,100.00

  41. Office equipment - Continued
         41.2 Edgebander (Diamond Millworks)                                           (Unknown)      Fair Market Value                      $15,000.00

         41.3 Forklift (Diamond Millworks)                                             (Unknown)      Fair Market Value                      $10,000.00

         41.4 Paint Booth (Diamond Millworks)                                          (Unknown)      Fair Market Value                       $5,000.00

         41.5 Dust Collector (Diamond Millworks)                                       (Unknown)      Fair Market Value                       $2,500.00

         41.6 3 Phase Converter (Diamond Millworks)                                    (Unknown)      Fair Market Value                       $1,000.00

         41.7 Tablesaw (Diamond Millworks)                                             (Unknown)      Fair Market Value                       $1,000.00

         41.8 Bobcat (Blue Diamond Remodeling)                                         (Unknown)      Fair Market Value                      $20,000.00

         41.9 Bridgesaw (Exotic Stone Works)                                           (Unknown)      Fair Market Value                      $15,000.00

         41.10 Compressor (Exotic Stone Works)                                         (Unknown)                                              $5,000.00




Official Form 206A/B                                     Schedule A/B: Assets — Real and Personal Property                                    page 11
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Debtor       MRUCKER INDUSTRIES, INC.                                                                  Case number (if known)
             Name



          Additional Page


         41.11 Watertank (Exotic Stone Works)                                             (Unknown)   Fair Market Value                       $3,000.00


         41.12 Forklift (Exotic Stone Works)                                              (Unknown)   Fair Market Value                      $10,000.00


         General description                                                      Net book value of   Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,   debtor's interest   for current value         interest
         or N-number)                                                             (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles - Continued

         47.4 2017 Ford F-250 / Blue Diamond Remodeling                                   (Unknown)   Fair Market Value                      $29,764.00


         47.5 2017 Ford T-150 Utility Van / Blue Diamond Remodeling                       (Unknown)   Fair Market Value                      $23,478.00


         47.6 2018 Ford T-250 Utility Van / Blue Diamond Remodeling                       (Unknown)   Fair Market Value                      $18,984.00


         47.7 2019 Ford F-350 / Blue Diamond Remodeling                                   (Unknown)   Fair Market Value                      $59,815.00


         47.8 2018 Ford Transit Van / Blue Diamond M.E.P.                                 (Unknown)   Fair Market Value                      $36,180.00


         47.9 2017 Ford Transit Van / Blue Diamond M.E.P.                                 (Unknown)   Fair Market Value                       $2,400.00


         47.10 2013 Ford F-150 / Blue Diamond M.E.P.                                      (Unknown)   Fair Market Value                       $9,103.00


         47.11 2017 Ford T-250 / Blue Diamond M.E.P.                                      (Unknown)   Fair Market Value                      $42,285.00


         47.12 2013 Ford F-350 / Blue Diamond M.E.P.                                      (Unknown)   Fair Market Value                      $18,602.00


         47.13 2012 Chevrolet 1500 / Blue Diamond M.E.P.                                  (Unknown)   Fair Market Value                       $3,478.00


         47.14 2016 GMC Sierra 2500 / Exotic Stone Works                                  (Unknown)   Fair Market Value                      $19,173.00


         General description                                                      Net book value of   Valuation method used     Current value of debtor's
                                                                                  debtor's interest   for current value         interest
                                                                                  (Where available)


  61. Internet domain names and websites - Continued

         61.2 www.Diamondmillworks.com                                                    (Unknown)                                                $1.00


         61.3 www.Exoticstoneworks.com                                                    (Unknown)                                                $1.00


         61.4 www.Bluediamondmep.com                                                      (Unknown)                                                $1.00




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                page 12
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 Fill in this information to identify the case:

     Debtor name     MRUCKER INDUSTRIES, INC.

     United States Bankruptcy Court for the:                 Western                 District of             Texas
                                                                                                   (State)
     Case number (if known):                                                                                                                           ❑   Check if this is an
                                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑   No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔
       ❑   Yes. Fill in all of the information below.

     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                             Column A                       Column B
        than one secured claim, list the creditor separately for each claim.                                                 Amount of claim                Value of collateral
                                                                                                                             Do not deduct the value        that supports this
                                                                                                                             of collateral.                 claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                             $3,841.08              $36,180.00
         Ally Automotive Financing
                                                             2018 Ford Transit Van
        Creditor’s mailing address
                                                             Describe the lien
         Attn Bankruptcy Dept
                                                             2018 Ford T-250
         P. O. Box 130424
         Saint Paul, MN 55113-0004                           Is the creditor an insider or related party?
                                                             ✔
                                                             ❑   No
        Creditor’s email address, if known
                                                             ❑   Yes

                                                             Is anyone else liable on this claim?
        Date debt was                   June 2019            ✔
                                                             ❑   No
        incurred                                             ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

        Last 4 digits of                                     As of the petition filing date, the claim is:
        account                                              Check all that apply.
        number
                                                             ❑   Contingent
        Do multiple creditors have an interest               ❑   Unliquidated
        in the same property?                                ❑   Disputed
        ✔
        ❑   No
        ❑   Yes. Specify each creditor, including this
                 creditor, and its relative priority.




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                               $1,225,920.23
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 24
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Debtor     MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                      Column B
                                                                                                                        Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value       that supports this
 from the
                                                                                                                        of collateral.                claim
 previous page.

2.2 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $44,005.47          $45,000.00
      Ascentium Capital
                                                        CNC (Diamond Millworks), Edgebander
     Creditor’s mailing address                         (Diamond Millworks)
      23970 US-59
                                                        Describe the lien
      Kingwood, TX 77339
                                                        Equipment Loan - CNC and Edge
     Creditor’s email address, if known
                                                        Is the creditor an insider or related party?
                                                        ✔
                                                        ❑   No

     Date debt was                   March 2020         ❑   Yes
     incurred                                           Is anyone else liable on this claim?
     Last 4 digits of                                   ✔
                                                        ❑   No
     account                                            ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest             Check all that apply.
     in the same property?
                                                        ❑   Contingent
     ✔
     ❑   No                                             ❑   Unliquidated
     ❑   Yes. Have you already specified the            ❑   Disputed
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 24
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Debtor     MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                      Column B
                                                                                                                        Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value       that supports this
 from the
                                                                                                                        of collateral.                claim
 previous page.

2.3 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $12,675.56          $11,776.00
      CIT Bank
                                                        2016 Ford Transit Van
     Creditor’s mailing address
                                                        Describe the lien
      155 Commerce Way
                                                        2016 Ford Transit Van
      Portsmouth, NH 03801-3243
                                                        Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                        ✔
                                                        ❑   No
                                                        ❑   Yes
     Date debt was                    December          Is anyone else liable on this claim?
     incurred                           2021
                                                        ❑   No

     Last 4 digits of                                   ✔
                                                        ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                        As of the petition filing date, the claim is:
     number
                                                        Check all that apply.
     Do multiple creditors have an interest             ❑   Contingent
     in the same property?                              ❑   Unliquidated
     ✔
     ❑   No                                             ❑   Disputed
     ❑   Yes. Have you already specified the
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 24
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Debtor     MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                      Column B
                                                                                                                        Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value       that supports this
 from the
                                                                                                                        of collateral.                claim
 previous page.

2.4 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $17,946.34          $21,183.00
      CIT Bank
                                                        2017 Chevrolet G2500
     Creditor’s mailing address
                                                        Describe the lien
      155 Commerce Way
                                                        2017 Chevrolet G2500
      Portsmouth, NH 03801-3243
                                                        Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                        ✔
                                                        ❑   No
                                                        ❑   Yes
     Date debt was                    December          Is anyone else liable on this claim?
     incurred                           2021
                                                        ❑   No

     Last 4 digits of                                   ✔
                                                        ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                        As of the petition filing date, the claim is:
     number
                                                        Check all that apply.
     Do multiple creditors have an interest             ❑   Contingent
     in the same property?                              ❑   Unliquidated
     ✔
     ❑   No                                             ❑   Disputed
     ❑   Yes. Have you already specified the
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




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Debtor     MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                      Column B
                                                                                                                        Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value       that supports this
 from the
                                                                                                                        of collateral.                claim
 previous page.

2.5 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $19,264.03          $18,300.00
      CIT Bank
                                                        2017 Chevrolet G2500
     Creditor’s mailing address
                                                        Describe the lien
      155 Commerce Way
                                                        2017 Chevrolet G2500
      Portsmouth, NH 03801-3243
                                                        Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                        ✔
                                                        ❑   No
                                                        ❑   Yes
     Date debt was                    December          Is anyone else liable on this claim?
     incurred                           2021
                                                        ❑   No

     Last 4 digits of                                   ✔
                                                        ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                        As of the petition filing date, the claim is:
     number
                                                        Check all that apply.
     Do multiple creditors have an interest             ❑   Contingent
     in the same property?                              ❑   Unliquidated
     ✔
     ❑   No                                             ❑   Disputed
     ❑   Yes. Have you already specified the
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




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Debtor     MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                      Column B
                                                                                                                        Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value       that supports this
 from the
                                                                                                                        of collateral.                claim
 previous page.

2.6 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $23,180.22          $42,462.00
      CIT Bank Direct Capital
                                                        2017 Ford T-150 Utility Van, 2018 Ford T-250
     Creditor’s mailing address                         Utility Van
      155 Commerce Way
                                                        Describe the lien
      Portsmouth, NH 03801
                                                        2017 Ford T-150 Utility Van and 2018 Ford
     Creditor’s email address, if known                 T-250 Utility Van

                                                        Is the creditor an insider or related party?
     Date debt was                  August 2020         ✔
                                                        ❑   No

     incurred                                           ❑   Yes

     Last 4 digits of                                   Is anyone else liable on this claim?
     account                                            ❑   No
     number                                             ✔
                                                        ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

     Do multiple creditors have an interest As of the petition filing date, the claim is:
     in the same property?                  Check all that apply.
     ✔
     ❑   No                                             ❑   Contingent
     ❑   Yes. Have you already specified the            ❑   Unliquidated
              relative priority?
                                                        ❑   Disputed
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




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Debtor     MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                       Column B
                                                                                                                        Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value        that supports this
 from the
                                                                                                                        of collateral.                 claim
 previous page.

2.7 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $175,000.00            unknown
      Fox Capital Group

     Creditor’s mailing address
      65 Broadway Suite 804
      New York, NY 10006
                                                        Describe the lien
     Creditor’s email address, if known                 Merchant Cash Advance - MRucker Industries

                                                        Is the creditor an insider or related party?
     Date debt was                                      ✔
                                                        ❑   No
     incurred
                                                        ❑   Yes
     Last 4 digits of                                   Is anyone else liable on this claim?
     account
     number
                                                        ❑   No
                                                        ✔
                                                        ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔
                                                        Check all that apply.
     ❑   No
     ❑   Yes. Have you already specified the            ❑   Contingent
              relative priority?                        ❑   Unliquidated

         ❑    No. Specify each creditor, including      ✔
                                                        ❑   Disputed
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




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Debtor     MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                       Column B
                                                                                                                        Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value        that supports this
 from the
                                                                                                                        of collateral.                 claim
 previous page.

2.8 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $150,000.00            unknown
      Fox Capital Group, Inc.

     Creditor’s mailing address
      140 Broadway 4th Floor
      New York, NY 10005
                                                        Describe the lien
     Creditor’s email address, if known                 Mercahant Cash Advance - MRucker
                                                        Industries

     Date debt was                                      Is the creditor an insider or related party?
     incurred                                           ✔
                                                        ❑   No

     Last 4 digits of                                   ❑   Yes
     account                                            Is anyone else liable on this claim?
     number
                                                        ❑   No
     Do multiple creditors have an interest             ✔
                                                        ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     in the same property?
                                                        As of the petition filing date, the claim is:
     ✔
     ❑   No
                                                        Check all that apply.
     ❑   Yes. Have you already specified the
              relative priority?                        ❑   Contingent

         ❑    No. Specify each creditor, including      ❑   Unliquidated
                  this creditor, and its relative       ✔
                                                        ❑   Disputed
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




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Debtor     MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                      Column B
                                                                                                                        Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value       that supports this
 from the
                                                                                                                        of collateral.                claim
 previous page.

2.9 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $43,701.00            unknown
      Gold Funding Group

     Creditor’s mailing address
      262 Albany Avenue
      Brooklyn, NY 11213
                                                        Describe the lien
     Creditor’s email address, if known                 Merchant Cash Advance - Blue Diamond
                                                        MEP LTD Co.

     Date debt was                                      Is the creditor an insider or related party?
     incurred                                           ✔
                                                        ❑   No

     Last 4 digits of                                   ❑   Yes
     account                                            Is anyone else liable on this claim?
     number
                                                        ❑   No
     Do multiple creditors have an interest             ✔
                                                        ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     in the same property?
                                                        As of the petition filing date, the claim is:
     ✔
     ❑   No
                                                        Check all that apply.
     ❑   Yes. Have you already specified the
              relative priority?                        ❑   Contingent

         ❑    No. Specify each creditor, including      ❑   Unliquidated
                  this creditor, and its relative       ✔
                                                        ❑   Disputed
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                       Column B
                                                                                                                          Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value        that supports this
 from the
                                                                                                                          of collateral.                 claim
 previous page.

2.10 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $150,000.00            unknown
         IOU Financial

     Creditor’s mailing address
         600 TownPark Lane Suite 100
         Kennesaw, GA 30144
                                                          Describe the lien
     Creditor’s email address, if known                   Commercial Loan - Blue Diamond
                                                          Remodeling

     Date debt was                                        Is the creditor an insider or related party?
     incurred                                             ✔
                                                          ❑   No

     Last 4 digits of                 4   4    3   9      ❑   Yes
     account                                              Is anyone else liable on this claim?
     number
                                                          ❑   No
     Do multiple creditors have an interest               ✔
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     in the same property?
                                                          As of the petition filing date, the claim is:
     ✔
     ❑     No
                                                          Check all that apply.
     ❑     Yes. Have you already specified the
                relative priority?                        ❑   Contingent

           ❑    No. Specify each creditor, including      ❑   Unliquidated
                    this creditor, and its relative       ✔
                                                          ❑   Disputed
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




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Debtor     MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                       Column B
                                                                                                                        Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value        that supports this
 from the
                                                                                                                        of collateral.                 claim
 previous page.

2.11 Creditor’s name                                    Describe debtor’s property that is subject to a
                                                        lien                                                                             $113,100.00            unknown
      Kapitus LLC

     Creditor’s mailing address
      2500 Wilson Boulevard Suite 350
      Arlington, VA 22201
                                                        Describe the lien
     Creditor’s email address, if known                 Merchant Cash Advance - Diamond Millworks

                                                        Is the creditor an insider or related party?
     Date debt was                                      ✔
                                                        ❑   No
     incurred
                                                        ❑   Yes
     Last 4 digits of                                   Is anyone else liable on this claim?
     account
     number
                                                        ❑   No
                                                        ✔
                                                        ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔
                                                        Check all that apply.
     ❑   No
     ❑   Yes. Have you already specified the            ❑   Contingent
              relative priority?                        ❑   Unliquidated

         ❑    No. Specify each creditor, including      ✔
                                                        ❑   Disputed
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                      Column B
                                                                                                                          Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value       that supports this
 from the
                                                                                                                          of collateral.                claim
 previous page.

2.12 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $50,000.00            unknown
         LG Funding LLC

     Creditor’s mailing address
         1218 Union St Suite 2
         Brooklyn, NY 11225
                                                          Describe the lien
     Creditor’s email address, if known                   Merchant Cash Advance - Exotic Stone
                                                          WOrks

     Date debt was                                        Is the creditor an insider or related party?
     incurred                                             ✔
                                                          ❑   No

     Last 4 digits of                                     ❑   Yes
     account                                              Is anyone else liable on this claim?
     number
                                                          ❑   No
     Do multiple creditors have an interest               ✔
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     in the same property?
                                                          As of the petition filing date, the claim is:
     ✔
     ❑     No
                                                          Check all that apply.
     ❑     Yes. Have you already specified the
                relative priority?                        ❑   Contingent

           ❑    No. Specify each creditor, including      ❑   Unliquidated
                    this creditor, and its relative       ✔
                                                          ❑   Disputed
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                     Column B
                                                                                                                          Amount of claim              Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value      that supports this
 from the
                                                                                                                          of collateral.               claim
 previous page.

2.13 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $2,955.64           $3,000.00
         M2 Equipment Finance
                                                          Watertank (Exotic Stone Works)
     Creditor’s mailing address
                                                          Describe the lien
         175 N Patrick Blvd Ste. 140
                                                          Water Tank
         Brookfield, WI 53045-5819
                                                          Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                          ✔
                                                          ❑   No
                                                          ❑   Yes
     Date debt was                     March 2019         Is anyone else liable on this claim?
     incurred
                                                          ❑   No
     Last 4 digits of                                     ✔
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
     number                                               As of the petition filing date, the claim is:
                                                          Check all that apply.
     Do multiple creditors have an interest
                                                          ❑   Contingent
     in the same property?
                                                          ❑   Unliquidated
     ✔
     ❑     No                                             ❑   Disputed
     ❑     Yes. Have you already specified the
                relative priority?
           ❑    No. Specify each creditor, including
                    this creditor, and its relative
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                     Column B
                                                                                                                          Amount of claim              Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value      that supports this
 from the
                                                                                                                          of collateral.               claim
 previous page.

2.14 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $1,737.29           $4,000.00
         M2 Equipment Finance
                                                          Dump Trailer
     Creditor’s mailing address
                                                          Describe the lien
         175 N Patrick Blvd Ste. 140
                                                          Dump Trailer
         Brookfield, WI 53045-5819
                                                          Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                          ✔
                                                          ❑   No
                                                          ❑   Yes
     Date debt was                     September          Is anyone else liable on this claim?
     incurred                            2020
                                                          ❑   No

     Last 4 digits of                                     ✔
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                          As of the petition filing date, the claim is:
     number
                                                          Check all that apply.
     Do multiple creditors have an interest               ❑   Contingent
     in the same property?                                ❑   Unliquidated
     ✔
     ❑     No                                             ❑   Disputed
     ❑     Yes. Have you already specified the
                relative priority?
           ❑    No. Specify each creditor, including
                    this creditor, and its relative
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                      Column B
                                                                                                                          Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value       that supports this
 from the
                                                                                                                          of collateral.                claim
 previous page.

2.15 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $11,198.16          $20,000.00
         M2 Equipment Finance
                                                          Bobcat (Blue Diamond Remodeling)
     Creditor’s mailing address
                                                          Describe the lien
         175 N Patrick Blvd Ste. 140
                                                          Bobcat
         Brookfield, WI 53045-5819
                                                          Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                          ✔
                                                          ❑   No
                                                          ❑   Yes
     Date debt was                     September          Is anyone else liable on this claim?
     incurred                            2020
                                                          ❑   No

     Last 4 digits of                                     ✔
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                          As of the petition filing date, the claim is:
     number
                                                          Check all that apply.
     Do multiple creditors have an interest               ❑   Contingent
     in the same property?                                ❑   Unliquidated
     ✔
     ❑     No                                             ❑   Disputed
     ❑     Yes. Have you already specified the
                relative priority?
           ❑    No. Specify each creditor, including
                    this creditor, and its relative
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                       Column B
                                                                                                                          Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value        that supports this
 from the
                                                                                                                          of collateral.                 claim
 previous page.

2.16 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $150,000.00            unknown
         NewCo Capital Group

     Creditor’s mailing address
         25 Robert Pitt Dr 204
         Monsey, NY 10952
                                                          Describe the lien
     Creditor’s email address, if known                   Merchant Cash Advance - Blue Diamond
                                                          Remodeling

     Date debt was                                        Is the creditor an insider or related party?
     incurred                                             ✔
                                                          ❑   No

     Last 4 digits of                                     ❑   Yes
     account                                              Is anyone else liable on this claim?
     number
                                                          ❑   No
     Do multiple creditors have an interest               ✔
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     in the same property?
                                                          As of the petition filing date, the claim is:
     ✔
     ❑     No
                                                          Check all that apply.
     ❑     Yes. Have you already specified the
                relative priority?                        ❑   Contingent

           ❑    No. Specify each creditor, including      ❑   Unliquidated
                    this creditor, and its relative       ✔
                                                          ❑   Disputed
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




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Debtor       MRUCKER INDUSTRIES, INC.                                                                   Case number (if known)
            Name




  Part 1:          Additional Page                                                                                       Column A                     Column B
                                                                                                                         Amount of claim              Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                         Do not deduct the value      that supports this
 from the
                                                                                                                         of collateral.               claim
 previous page.

2.17 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                         lien                                                                             $8,433.50          $15,000.00
         Stearns Bank Leasing
                                                         Bridgesaw (Exotic Stone Works)
     Creditor’s mailing address
                                                         Describe the lien
         PO Box 750
                                                         Bridgesaw
         500 13th Street
         Albany, MN 56307                                Is the creditor an insider or related party?
                                                         ✔
                                                         ❑   No
     Creditor’s email address, if known
                                                         ❑   Yes

                                                         Is anyone else liable on this claim?
     Date debt was                     February          ❑   No
     incurred                           2019             ✔
                                                         ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

     Last 4 digits of                                    As of the petition filing date, the claim is:
     account                                             Check all that apply.
     number
                                            ❑                Contingent

     Do multiple creditors have an interest ❑                Unliquidated
     in the same property?                  ❑                Disputed

     ✔ No
     ❑
     ❑ Yes. Have you already specified the
                relative priority?
           ❑   No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



           ❑   Yes. The relative priority of creditors
                    is specified on lines




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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                       Column B
                                                                                                                          Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value        that supports this
 from the
                                                                                                                          of collateral.                 claim
 previous page.

2.18 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $150,000.00            unknown
         U.S. Small Business Administration

     Creditor’s mailing address
         1545 Hawkins Blvd 202
         El Paso, TX 79925
                                                          Describe the lien
     Creditor’s email address, if known                   SBA Loan - Blue Diamond Remodeling

                                                          Is the creditor an insider or related party?
     Date debt was                                        ✔
                                                          ❑   No
     incurred
                                                          ❑   Yes
     Last 4 digits of                 7   4    0   3      Is anyone else liable on this claim?
     account
                                                          ✔
                                                          ❑   No
     number
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔
                                                          Check all that apply.
     ❑     No
     ❑     Yes. Have you already specified the            ❑   Contingent
                relative priority?                        ❑   Unliquidated

           ❑    No. Specify each creditor, including      ❑   Disputed
                    this creditor, and its relative
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 18 of 24
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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                      Column B
                                                                                                                          Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value       that supports this
 from the
                                                                                                                          of collateral.                claim
 previous page.

2.19 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $19,800.00            unknown
         U.S. Small Business Administration

     Creditor’s mailing address
         1545 Hawkins Blvd 202
         El Paso, TX 79925
                                                          Describe the lien
     Creditor’s email address, if known                   SBA Loan - Exotic Stone Works, LLC

                                                          Is the creditor an insider or related party?
     Date debt was                                        ✔
                                                          ❑   No
     incurred
                                                          ❑   Yes
     Last 4 digits of                 7   4    0   2      Is anyone else liable on this claim?
     account
                                                          ✔
                                                          ❑   No
     number
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔
                                                          Check all that apply.
     ❑     No
     ❑     Yes. Have you already specified the            ❑   Contingent
                relative priority?                        ❑   Unliquidated

           ❑    No. Specify each creditor, including      ❑   Disputed
                    this creditor, and its relative
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 19 of 24
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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                      Column B
                                                                                                                          Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value       that supports this
 from the
                                                                                                                          of collateral.                claim
 previous page.

2.20 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $51,600.00            unknown
         U.S. Small Business Administration

     Creditor’s mailing address
         1545 Hawkins Blvd 202
         El Paso, TX 79925
                                                          Describe the lien
     Creditor’s email address, if known                   SBA Loan - Blue Diamond MEP Ltd Co.

                                                          Is the creditor an insider or related party?
     Date debt was                                        ✔
                                                          ❑   No
     incurred
                                                          ❑   Yes
     Last 4 digits of                 7   8    0   5      Is anyone else liable on this claim?
     account
                                                          ✔
                                                          ❑   No
     number
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔
                                                          Check all that apply.
     ❑     No
     ❑     Yes. Have you already specified the            ❑   Contingent
                relative priority?                        ❑   Unliquidated

           ❑    No. Specify each creditor, including      ❑   Disputed
                    this creditor, and its relative
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 20 of 24
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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                     Column B
                                                                                                                          Amount of claim              Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value      that supports this
 from the
                                                                                                                          of collateral.               claim
 previous page.

2.21 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $7,305.16           $9,103.00
         Wells Fargo Auto Finance
                                                          2013 Ford F-150
     Creditor’s mailing address
                                                          Describe the lien
         Bankruptcy Dept
                                                          2013 Ford F-150
         1100 Corporate Center Dr. Bldg. A
         FL 03                                            Is the creditor an insider or related party?
         Raleigh, NC 27607                                ✔
                                                          ❑   No
                                                          ❑   Yes
     Creditor’s email address, if known
                                                          Is anyone else liable on this claim?
                                                          ❑   No
     Date debt was                      July 2019         ✔
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     incurred
                                                          As of the petition filing date, the claim is:
     Last 4 digits of                                     Check all that apply.
     account
     number
                                            ❑                 Contingent
                                            ❑                 Unliquidated
     Do multiple creditors have an interest ❑                 Disputed
     in the same property?
     ✔
     ❑     No
     ❑     Yes. Have you already specified the
                relative priority?
           ❑    No. Specify each creditor, including
                    this creditor, and its relative
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                      Column B
                                                                                                                          Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value       that supports this
 from the
                                                                                                                          of collateral.                claim
 previous page.

2.22 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $10,537.19          $18,602.00
         Wells Fargo Auto Finance
                                                          2013 Ford F-350
     Creditor’s mailing address
                                                          Describe the lien
         Bankruptcy Dept
                                                          Equipment Loan - 2013 Ford F-350
         1100 Corporate Center Dr. Bldg. A
         FL 03                                            Is the creditor an insider or related party?
         Raleigh, NC 27607                                ✔
                                                          ❑   No
                                                          ❑   Yes
     Creditor’s email address, if known
                                                          Is anyone else liable on this claim?
                                                          ❑   No
     Date debt was                     December           ✔
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     incurred                            2019
                                                          As of the petition filing date, the claim is:
     Last 4 digits of                                     Check all that apply.
     account
                                            ❑                 Contingent
     number
                                            ❑                 Unliquidated
     Do multiple creditors have an interest ❑                 Disputed
     in the same property?
     ✔
     ❑     No
     ❑     Yes. Have you already specified the
                relative priority?
           ❑    No. Specify each creditor, including
                    this creditor, and its relative
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




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Debtor       MRUCKER INDUSTRIES, INC.                                                                    Case number (if known)
            Name




  Part 1:           Additional Page                                                                                       Column A                     Column B
                                                                                                                          Amount of claim              Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                          Do not deduct the value      that supports this
 from the
                                                                                                                          of collateral.               claim
 previous page.

2.23 Creditor’s name                                      Describe debtor’s property that is subject to a
                                                          lien                                                                             $9,639.59          $42,285.00
         Wells Fargo Auto Finance
                                                          2017 Ford T-250
     Creditor’s mailing address
                                                          Describe the lien
         Bankruptcy Dept
                                                          2017 Ford T-250
         1100 Corporate Center Dr. Bldg. A
         FL 03                                            Is the creditor an insider or related party?
         Raleigh, NC 27607                                ✔
                                                          ❑   No
                                                          ❑   Yes
     Creditor’s email address, if known
                                                          Is anyone else liable on this claim?
                                                          ❑   No
     Date debt was                    August 2019         ✔
                                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     incurred
                                                          As of the petition filing date, the claim is:
     Last 4 digits of                                     Check all that apply.
     account
     number
                                            ❑                 Contingent
                                            ❑                 Unliquidated
     Do multiple creditors have an interest ❑                 Disputed
     in the same property?
     ✔
     ❑     No
     ❑     Yes. Have you already specified the
                relative priority?
           ❑    No. Specify each creditor, including
                    this creditor, and its relative
                    priority.



           ❑    Yes. The relative priority of creditors
                     is specified on lines




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Debtor      MRUCKER INDUSTRIES, INC.                                                Case number (if known)
         Name




  Part 2:       List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed
 are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy
 this page.


 Name and address                                                                                  On which line in Part   Last 4 digits of
                                                                                                   1                       account number
                                                                                                   did you enter the       for this entity
                                                                                                   related creditor?

 Aubrey Thrasher, LLC
 1170 Peachtree Street Suite 1925                                                                 Line 2. 10
 Atlanta, GA 30309

 Bouskila, Ariel
 80 Broad Street Suite 3303                                                                       Line 2. 16
 New York, NY 10004



                                                                                                  Line 2.




                                                                                                  Line 2.




                                                                                                  Line 2.




                                                                                                  Line 2.




                                                                                                  Line 2.




                                                                                                  Line 2.




                                                                                                  Line 2.




                                                                                                  Line 2.




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 Fill in this information to identify the case:

 Debtor name                        MRUCKER INDUSTRIES, INC.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address             As of the petition filing date, the claim is:    $76,288.68                    $76,288.68
                                                             Check all that apply.
       Chris Spene
                                                             ❑ Contingent
       c/o Kaplan Law Firm PLLC                              ❑ Unliquidated
                                                             ✔ Disputed
                                                             ❑
       3901 S Lamar Blvd Suite 260

       Austin, TX 78704                                      Basis for the Claim:
                                                              Unpaid Commissions - Blue Diamond
       Date or dates debt was incurred                        Remodeling

                                                             Is the claim subject to offset?
                                                             ✔ No
                                                             ❑
       Last 4 digits of account
                                                             ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (4)

2.2 Priority creditor’s name and mailing address             As of the petition filing date, the claim is:    $117,296.08                   $117,296.08
                                                             Check all that apply.
       Internal Revenue Service
                                                             ❑ Contingent
       P.O. Box 7346                                         ❑ Unliquidated
       Philadelphia, PA 19101-7346
                                                             ❑ Disputed
                                                             Basis for the Claim:
       Date or dates debt was incurred
                                                              Debt is for BDR, DMW, ESW and MEP
                                                              2019-2021

       Last 4 digits of account                      Is the claim subject to offset?
       number                                        ✔ No
                                                     ❑
       Specify Code subsection of PRIORITY unsecured ❑ Yes
       claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 7
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Debtor        MRUCKER INDUSTRIES, INC.                                                                        Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $1,333.62
                                                                            Check all that apply.
       AmSher Collection Services, Inc.
                                                                            ❑ Contingent
       4524 Southlake Parkway Suite 15                                      ❑ Unliquidated
                                                                            ❑ Disputed
       Birmingham, AL 35244
                                                                            Basis for the claim: Collections
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number         3   9   2    8
                                                                            ❑ Yes
       Remarks: Collection for T-Mobile

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $1,333.62
                                                                            Check all that apply.
       AmSher Collection Services, Inc.
                                                                            ❑ Contingent
       4524 Southlake Parkway Suite 15                                      ❑ Unliquidated
                                                                            ❑ Disputed
       Birmingham, AL 35244
                                                                                                 TMobile Bill - Blue
                                                                            Basis for the claim: Diamond Remodeling
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $9,888.25
                                                                            Check all that apply.
       Bellissimo Cabinet Doors
                                                                            ❑ Contingent
       125 Holmes Rd #5                                                     ❑ Unliquidated
                                                                            ❑ Disputed
       Liberty Hill, TX 78642
                                                                            Basis for the claim: Supplies
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $49,013.00
3.4                                                                         Check all that apply.
       Chase
                                                                            ❑ Contingent
       PO Box BOX 78039                                                     ❑ Unliquidated
                                                                            ❑ Disputed
       Phoenix, AZ 85062
                                                                            Basis for the claim: Credit Card
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number         0   0   0    1
                                                                            ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 7
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Debtor      MRUCKER INDUSTRIES, INC.                                                                     Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $47,664.73
                                                                       Check all that apply.
      Chase Cardmember Services
                                                                       ❑ Contingent
      PO Box 6294                                                      ❑ Unliquidated
                                                                       ❑ Disputed
      Carol Stream, IL 60197
                                                                       Basis for the claim: Credit Card
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number      5   4   0     6
                                                                       ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,907.71
                                                                       Check all that apply.
      Chase National Payment Services
                                                                       ❑ Contingent
      PO Box 182223 Mail Code: OH1-1272                                ❑ Unliquidated
                                                                       ❑ Disputed
      Columbus, OH 43218
                                                                                            Credit Card - Diamond
                                                                       Basis for the claim: Millworks LLC
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
      Last 4 digits of account number      3   3   5     2
                                                                       ❑ Yes
3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $1,203.35
                                                                       Check all that apply.
      Cook Industries
                                                                       ❑ Contingent
      1214 Northpoint Drive                                            ❑ Unliquidated
                                                                       ❑ Disputed
      San Marcos, TX 78666
                                                                       Basis for the claim: Tools
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $5,088.83
3.8                                                                    Check all that apply.
      Elliott Electric Supply
                                                                       ❑ Contingent
      300 East New Hope Road                                           ❑ Unliquidated
                                                                       ❑ Disputed
      Cedar Park, TX 78613
                                                                                            Supplies - Blue Diamond
                                                                       Basis for the claim: MEP
      Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 7
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Debtor        MRUCKER INDUSTRIES, INC.                                                                      Case number (if known)
             Name




 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $3,058.34
                                                                          Check all that apply.
         Gruene Environmental Services LLC
                                                                          ❑ Contingent
         1659 W State Highway 46 Ste 115 #411                             ❑ Unliquidated
                                                                          ❑ Disputed
         New Braunfels, TX 78132
                                                                                               Invoice - Diamond
                                                                          Basis for the claim: Millworks
         Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes
3.10 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $35,266.35
                                                                          Check all that apply.
         Hardware Resources
                                                                          ❑ Contingent
         PO Box 732674                                                    ❑ Unliquidated
                                                                          ❑ Disputed
         Dallas, TX 75373
                                                                          Basis for the claim: Tools
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes

3.11 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $23,872.00
                                                                          Check all that apply.
         Home Depot Credit Services
                                                                          ❑ Contingent
         PO Box 790345                                                    ❑ Unliquidated
                                                                          ❑ Disputed
         Saint Louis, MO 63179
                                                                                               Credit Card - Blue
                                                                          Basis for the claim: Diamond Remodeling
         Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
         Last 4 digits of account number      2   2   7     5
                                                                          ❑ Yes
         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $10,643.00
3.12                                                                      Check all that apply.
         Home Depot Credit Services
                                                                          ❑ Contingent
         PO Box 790345                                                    ❑ Unliquidated
                                                                          ❑ Disputed
         Saint Louis, MO 63179
                                                                                               Credit Card - Remodel
                                                                          Basis for the claim: Management
         Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
         Last 4 digits of account number      5   3   8     8
                                                                          ❑ Yes




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Debtor        MRUCKER INDUSTRIES, INC.                                                                      Case number (if known)
             Name




 Part 2: Additional Page

3.13 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,622.00
                                                                          Check all that apply.
         Konica Minolta Business Solutions
                                                                          ❑ Contingent
         Dept LA 22988                                                    ❑ Unliquidated
                                                                          ❑ Disputed
         Pasadena, CA 91185
                                                                                               Phone System - Blue
                                                                          Basis for the claim: Diamond Remodeling
         Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes
3.14 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,147.81
                                                                          Check all that apply.
         Nitel, LLC
                                                                          ❑ Contingent
         350 N. Orleans Street Sutie 1300N                                ❑ Unliquidated
                                                                          ❑ Disputed
         Chicago, IL 60654
                                                                          Basis for the claim:
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number      2   0   1     8
                                                                          ❑ Yes

3.15 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $1,147.81
                                                                          Check all that apply.
         Nitel, LLC
                                                                          ❑ Contingent
         350 N. Orleans Street Sutie 1300N                                ❑ Unliquidated
                                                                          ❑ Disputed
         Chicago, IL 60654
                                                                          Basis for the claim: Services
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred                                  ✔ No
                                                                          ❑
         Last 4 digits of account number
                                                                          ❑ Yes

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              unknown
3.16                                                                      Check all that apply.
         Phoebe Robinson
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         c/o Espinoza Law Firm PLLC
                                                                          ✔ Disputed
                                                                          ❑
         10202 Heritage Blvd                                              Basis for the claim: Employment Injuries
         San Antonio, TX 78216                                            Is the claim subject to offset?
                                                                          ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




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Debtor        MRUCKER INDUSTRIES, INC.                                                                       Case number (if known)
             Name




 Part 2: Additional Page

3.17 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $9,460.03
                                                                           Check all that apply.
         PNC Bank
                                                                           ❑ Contingent
         PO Box 71335                                                      ❑ Unliquidated
                                                                           ❑ Disputed
         Philadelphia, PA 19176-1335
                                                                                                Credit Card - Remodel
                                                                           Basis for the claim: Management
         Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Last 4 digits of account number
                                                                           ❑ Yes
3.18 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $37,943.64
                                                                           Check all that apply.
         Protrade Credit
                                                                           ❑ Contingent
         PO Box 105525                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Atlanta, GA 30348-5525
                                                                                                Credit Card - Remodel
                                                                           Basis for the claim: Management
         Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Last 4 digits of account number
                                                                           ❑ Yes
3.19 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:              $12,399.15
                                                                           Check all that apply.
         Wex Bank
                                                                           ❑ Contingent
                                                                           ❑ Unliquidated
         P.O. Box 4337
                                                                           ✔ Disputed
                                                                           ❑
         Carol Stream, IL 60197
                                                                                                Invoice - Blue Diamond
                                                                           Basis for the claim: Remodeling
         Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Last 4 digits of account number       5   7   8     8
                                                                           ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $13,548.92
3.20                                                                       Check all that apply.
         Winston Water Coller of Austin, Ltd
                                                                           ❑ Contingent
         15605 Tacon Lane                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Pflugerville, TX 78660
                                                                                                Invoice Supplies - Blue
                                                                           Basis for the claim: Diamond MEP LTD Co.
         Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Last 4 digits of account number       5   3   2     6
                                                                           ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                       page 6 of 7
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Debtor       MRUCKER INDUSTRIES, INC.                                                             Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $193,584.76




  5b. Total claims from Part 2                                                     5b.              $267,542.16
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $461,126.92
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 7 of 7
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 Fill in this information to identify the case:

 Debtor name                        MRUCKER INDUSTRIES, INC.

 United States Bankruptcy Court for the:
                                Western District of Texas


 Case number (if known):                                         Chapter   11                                                     ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            237 Benelli Lease                            Anshul Jain, et al.
2.1    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       3810 Brushy Creek Road Unit 52
                                                                                          Cedar Park, TX 78613
       State the term remaining              57 months

       List the contract number of
       any government contract

       State what the contract or
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 1
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 Fill in this information to identify the case:

  Debtor name          MRUCKER INDUSTRIES, INC.


  United States Bankruptcy Court for the:               Western             District of             Texas

                                                                                                                                         ❑
                                                                                          (State)
  Case number (If known):
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔
        ❑     Yes

  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                 Column 2: Creditor

                                                                                                                                          Check all schedules
         Name                               Mailing address                                                 Name
                                                                                                                                          that apply:

 2.1     Blue Diamond M.E.P.                237 Benelli Drive                                               Wells Fargo Auto Finance      ✔
                                                                                                                                          ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G

                                            Hutto, TX 78634                                                 Wells Fargo Auto Finance      ✔
                                                                                                                                          ❑   D
                                            City                   State                   ZIP Code                                       ❑   E/F
                                                                                                                                          ❑   G

                                                                                                            Wells Fargo Auto Finance      ✔
                                                                                                                                          ❑   D
                                                                                                                                          ❑   E/F
                                                                                                                                          ❑   G

                                                                                                            Fox Capital Group             ✔
                                                                                                                                          ❑   D
                                                                                                                                          ❑   E/F
                                                                                                                                          ❑   G

                                                                                                            Fox Capital Group, Inc.       ✔
                                                                                                                                          ❑   D
                                                                                                                                          ❑   E/F
                                                                                                                                          ❑   G

                                                                                                            Gold Funding Group            ✔
                                                                                                                                          ❑   D
                                                                                                                                          ❑   E/F
                                                                                                                                          ❑   G

 2.2     Blue Diamond Remodeling            237 Benelli Drive                                               CIT Bank                      ✔
                                                                                                                                          ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G

                                            Hutto, TX 78634                                                 CIT Bank                      ✔
                                                                                                                                          ❑   D
                                            City                   State                   ZIP Code                                       ❑   E/F
                                                                                                                                          ❑   G

                                                                                                            CIT Bank                      ✔
                                                                                                                                          ❑   D
                                                                                                                                          ❑   E/F
                                                                                                                                          ❑   G



Official Form 206H                                                   Schedule H: Codebtors                                                          page 1 of    3
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Debtor      MRUCKER INDUSTRIES, INC.                                                      Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

                                                                                                 M2 Equipment Finance        ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                 M2 Equipment Finance        ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                 CIT Bank Direct Capital     ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                 NewCo Capital Group         ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                 Fox Capital Group           ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                 Fox Capital Group, Inc.     ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                 IOU Financial               ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                 LG Funding LLC              ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

 2.3     Diamond Millworks            237 Benelli Drive                                          Fox Capital Group           ✔
                                                                                                                             ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G

                                      Hutto, TX 78634                                            Fox Capital Group, Inc.     ✔
                                                                                                                             ❑   D
                                      City                   State             ZIP Code                                      ❑   E/F
                                                                                                                             ❑   G

                                                                                                 Kapitus LLC                 ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

 2.4     Exotic Stoneworks            237 Benelli Drive                                          M2 Equipment Finance        ✔
                                                                                                                             ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G

                                      Hutto, TX 78634                                            Stearns Bank Leasing        ✔
                                                                                                                             ❑   D
                                      City                   State             ZIP Code                                      ❑   E/F
                                                                                                                             ❑   G

                                                                                                 NewCo Capital Group         ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G


Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     3
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Debtor      MRUCKER INDUSTRIES, INC.                                                       Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                      Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                            Name
                                                                                                                             that apply:

                                                                                                  Fox Capital Group          ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                  Fox Capital Group, Inc.    ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                  LG Funding LLC             ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

         Orange Monkey Motors,
 2.5     LLC                          237 Benelli Drive                                           NewCo Capital Group        ✔
                                                                                                                             ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G

                                      Hutto, TX 78634
                                      City                      State           ZIP Code

 2.6     Remodel Management LLC       1151 Provident Ln Ste A                                     NewCo Capital Group        ✔
                                                                                                                             ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G

                                      Round Rock, TX 78664
                                      City                 State                ZIP Code

 2.7     Rucker, Maxwell              237 Benelli Drive                                           NewCo Capital Group        ✔
                                                                                                                             ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G

                                      Hutto, TX 78634                                             Fox Capital Group          ✔
                                                                                                                             ❑   D
                                      City                      State           ZIP Code                                     ❑   E/F
                                                                                                                             ❑   G

                                                                                                  Fox Capital Group, Inc.    ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                  Gold Funding Group         ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                  LG Funding LLC             ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G

                                                                                                  Kapitus LLC                ✔
                                                                                                                             ❑   D
                                                                                                                             ❑   E/F
                                                                                                                             ❑   G




Official Form 206H                                               Schedule H: Codebtors                                           page   3   of     3
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 Fill in this information to identify the case:

 Debtor name                                     MRUCKER INDUSTRIES, INC.

 United States Bankruptcy Court for the:
                                            Western District of Texas


 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                             $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                       $1,040,182.18

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                       $1,040,182.18




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $1,225,920.23



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                           $193,584.76


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +            $267,542.16




 4. Total liabilities..............................................................................................................................................................................                    $1,687,047.15

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
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 Fill in this information to identify the case:

 Debtor name                          MRUCKER INDUSTRIES, INC.

 United States Bankruptcy Court for the:
                                   Western District of Texas


 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                   $3,375,098.00
                                                                                         ❑ Other
       fiscal year to filing date:        From 01/01/2023         to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                    From 01/01/2022         to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                   $6,231,044.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:          From 01/01/2021         to    12/31/2021       ✔ Operating a business
                                                                                         ❑                                                   $3,488,981.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:         From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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                                                                             number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                     Dates             Total amount or value          Reasons for payment or transfer
                                                                                                          Check all that apply

 3.1.   Ally Automotive Financing                        3/20/2023                    $5,177.00           ✔ Secured debt
                                                                                                          ❑
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        P. O. Box 130424
        Street
                                                         4/4/2023
                                                                                                          ❑ Suppliers or vendors
        Attn Bankruptcy Dept                             4/18/2023                                        ❑ Services
                                                                                                          ❑ Other
        Saint Paul, MN 55113-0004                        5/2/2023
        City                        State   ZIP Code
                                                         5/18/2023

                                                         6/2/2023

                                                         6/5/2023

 3.2.   Ascentium Capital                                3/27/2023                    $6,915.15           ✔ Secured debt
                                                                                                          ❑
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        23970 US-59
        Street
                                                         4/25/2023
                                                                                                          ❑ Suppliers or vendors
                                                         5/25/2023                                        ❑ Services
                                                                                                          ❑ Other
        Kingwood, TX 77339
        City                        State   ZIP Code

 3.3.   CIT Bank Direct Capital                          3/21/2023                   $14,968.24           ✔ Secured debt
                                                                                                          ❑
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        155 Commerce Way
        Street
                                                         3/27/2023
                                                                                                          ❑ Suppliers or vendors
                                                         4/17/2023                                        ❑ Services
                                                                                                          ❑ Other
        Portsmouth, NH 03801                             4/25/2023
        City                        State   ZIP Code
                                                         5/15/2023

                                                         5/25/2023

                                                         6/15/2023

 3.4.   Ford Motor Credit                                5/17/2023                    $3,765.35           ✔ Secured debt
                                                                                                          ❑
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        Po Box 650574
        Street
                                                         6/16/2023
                                                                                                          ❑ Suppliers or vendors
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        Dallas, TX 75265-0575
        City                        State   ZIP Code




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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 3.5.   M2 Equipment Finance                               3/22/2023                     $1,886.43           ✔ Secured debt
                                                                                                             ❑
        Creditor's name
                                                                                                             ❑ Unsecured loan repayments
        175 N Patrick Blvd Ste. 140
        Street
                                                           4/24/2023
                                                                                                             ❑ Suppliers or vendors
                                                           5/22/2023                                         ❑ Services
                                                                                                             ❑ Other
        Brookfield, WI 53045-5819                          6/12/2023
        City                        State    ZIP Code
                                                           6/12/2023

 3.6.   U.S. Small Business Administration                 4/14/2023                     $1,080.00           ✔ Secured debt
                                                                                                             ❑
        Creditor's name
                                                                                                             ❑ Unsecured loan repayments
        1545 Hawkins Blvd 202
        Street
                                                           4/14/2023
                                                                                                             ❑ Suppliers or vendors
                                                           4/14/2023                                         ❑ Services
                                                                                                             ❑ Other
        El Paso, TX 79925
        City                        State    ZIP Code

 3.7.   Stearns Bank                                       4/3/2023                      $3,602.73           ✔ Secured debt
                                                                                                             ❑
        Creditor's name
                                                                                                             ❑ Unsecured loan repayments
        500 13th Street
        Street
                                                           5/2/2023
                                                                                                             ❑ Suppliers or vendors
        PO Box 750                                         6/1/2023                                          ❑ Services
                                                                                                             ❑ Other
        Albany, MN 56307
        City                        State    ZIP Code

 3.8.   Wells Fargo Auto Finance                           4/5/2023                      $4,510.28           ✔ Secured debt
                                                                                                             ❑
        Creditor's name
                                                                                                             ❑ Unsecured loan repayments
        P.O. Box 54180
        Street
                                                           4/10/2023
                                                                                                             ❑ Suppliers or vendors
        Bankruptcy Dept                                    4/19/2023                                         ❑ Services
                                                                                                             ❑ Other
        Los Angeles, CA 90054-0180                         4/28/2023
        City                        State    ZIP Code
                                                           5/8/2023

                                                           5/19/2023

                                                           5/30/2023

                                                           6/8/2023



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                        Dates             Total amount or value           Reasons for payment or transfer




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
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 4.1.   Maxwell Rucker                                      4/27/2023                     $72,940.00            Owner Payments - Payments are from
        Creditor's name                                                                                         6/30/2022 through 4/27/2023
        1002 Cedar Falls Street
        Street



        Round Rock, TX 78681
        City                        State     ZIP Code

         Relationship to debtor

        Owner/CEO



 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                                Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None




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                                                                          Main  Document Pg 64 of 82
                                                                             number (if known)
             Name
 7.1.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

        NewCo Capital Group VI LLC             MCA Debt                               Supreme Court of the State Of New York              ✔ Pending
                                                                                                                                          ❑
        vs Blue Diamond Remodeling
        Inc
                                                                                      County of Ontario
                                                                                      Name                                                ❑ On appeal
                                                                                      27 N Main St                                        ❑ Concluded
                                                                                      Street
         Case number

        135029-2023                                                                   Canandaigua, NY 14424-1447
                                                                                      City                         State   ZIP Code

 7.2.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

        Fox Capital Group, Inc.                MCA Debt                               Williamson County District Court                    ✔ Pending
                                                                                                                                          ❑
                                                                                                                                          ❑ On appeal
                                                                                      Name
                                                                                      405 Martin Luther King Jr Street
         Case number                                                                  Street                                              ❑ Concluded
        23-0160-C395
                                                                                      Georgetown, TX 78626
                                                                                      City                         State   ZIP Code

 7.3.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

        Kapitus Servicing, INc vs              MCA Debt                               Hanover Circuit Court                               ✔ Pending
                                                                                                                                          ❑
                                                                                                                                          ❑ On appeal
        Diamond Millworks LLC                                                         Name
                                                                                      7530 County Complex Road
                                                                                      Street                                              ❑ Concluded
         Case number

                                                                                      Hanover, VA 23069
                                                                                      City                         State   ZIP Code

 7.4.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

        Phoebe Robinson vs Blue                                                       Hays County District Court                          ✔ Pending
                                                                                                                                          ❑
                                                                                                                                          ❑ On appeal
        Diamond Remodeling Inc                                                        Name
                                                                                      712 S Stagecoach Trail
                                                                                      Street                                              ❑ Concluded
         Case number

        23-0412                                                                       San Marcos, TX 78666
                                                                                      City                         State   ZIP Code

 7.5.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

        Chris Spene vs Blue Diamond            Unpaid Commissions                     Williamson County District Court                    ✔ Pending
                                                                                                                                          ❑
                                                                                                                                          ❑ On appeal
        Remodeling Inc                                                                Name
                                                                                      405 Martin Luther King Jr Street
                                                                                      Street                                              ❑ Concluded
         Case number

        23-0753-C26                                                                   Georgetown, TX 78626
                                                                                      City                         State   ZIP Code

 7.6.    Case title                             Nature of case                         Court or agency's name and address                   Status of case

        IOU Central Inc vs Blue                MCA Debt                               Superior Court of Cobb County                       ✔ Pending
                                                                                                                                          ❑
                                                                                                                                          ❑ On appeal
        Diamond Remodeling Inc                                                        Name
                                                                                      30 Waddell Street
                                                                                      Street                                              ❑ Concluded
         Case number

        23103604                                                                      Marietta, GA 30090
                                                                                      City                         State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑

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                  Name
 8.1.     Custodian’s name and address                     Description of the property                          Value


         Custodian’s name
                                                           Case title                                           Court name and address
         Street
                                                                                                               Name

                                                           Case number                                         Street
         City                        State     ZIP Code



                                                           Date of order or assignment                         City                          State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                   Dates given          Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                            lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None




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                  Name

 11.1.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         The Lane Law Firm                                     Attorney’s Fee                                           04/07/2023                    $7,500.00


          Address                                              Attorney’s Fee                                           04/14/2023                    $7,500.00

         6200 Savoy Dr Ste 1150                                Attorney’s Fee                                           04/21/2023                    $7,500.00
         Street
                                                               Attorney’s Fee                                           04/28/2023                    $7,500.00
         Houston, TX 77036-3369
         City                        State    ZIP Code         Attorney’s Fee                                           05/05/2023                    $7,500.00

          Email or website address                             Attorney’s Fee and Expenses                              05/12/2023                    $7,500.00

         billing@lanelaw.com                                   Attorney's Fee                                           04/05/2023                    $7,500.00

          Who made the payment, if not debtor?                 Attorney's Fee                                           04/05/2023                    $7,500.00




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                        State    ZIP Code


          Relationship to debtor




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                Name
 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ❑ Does not apply
          Address                                                                                              Dates of occupancy

 14.1. 1151 Provident Lane                                                                                    From    8/2017         To 05/2022
       Street



         Round Rock, TX 78664
         City                        State       ZIP Code



 14.1. 18 Indian Meadows                                                                                      From    7/2018         To 05/2022
       Street



         Round Rock, TX 78665
         City                        State       ZIP Code



 14.1. 206 Carlos Parker Blvd Southeast                                                                       From    01/2014        To 05/2022
       Street



         Taylor, TX 76574
         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the     If debtor provides meals
                                                            debtor provides                                                      and housing, number of
                                                                                                                                 patients in debtor’s care

 15.1.
         Facility name


         Street
                                                            Location where patient records are maintained(if different from      How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                               Check all that apply:
                                                                                                                                ❑ Electronically
                                                                                                                                ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ❑ No.



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                 Name
        ✔ Yes. State the nature of the information collected and retained.
        ❑
                   Does the debtor have a privacy policy about that information?
                   ❑ No
                   ✔ Yes
                   ❑
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
        ✔ No. Go to Part 10.
        ❑
        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                        Name of plan                                                                   Employer identification number of the plan

                                                                                                      EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account       Type of account              Date account was          Last balance
                                                          number                                                      closed, sold, moved,      before closing
                                                                                                                      or transferred            or transfer

 18.1                                                     XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
        Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
        City                       State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑    No

                                                                                                                                                 ❑
        Name
                                                                                                                                                      Yes
        Street

                                                          Address

        City                       State   ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑
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                  Name

 20.1     Facility name and address                              Names of anyone with access to it      Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑   No

                                                                                                                                                  ❑
         Name
                                                                                                                                                      Yes
         Street

                                                                 Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                    Location of the property                Description of the property                   Value


         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Case title                                      Court or agency name and address                   Nature of the case                            Status of case

                                                                                                                                                        ❑ Pending
          Case number
                                                        Name
                                                                                                                                                        ❑ On appeal
                                                        Street
                                                                                                                                                        ❑ Concluded


                                                        City                         State   ZIP Code




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                                                                              number (if known)
                  Name
 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice


         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice


         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:        –
         Name
                                                                                                                  Dates business existed
         Street
                                                                                                                From                  To



         City                 State   ZIP Code


 26. Books, records, and financial statements
 26a.    List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         ❑None




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                 Name

           Name and address                                                                                Dates of service

 26a.1. Diana Huerta
                                                                                                          From 07/06/2021     To
        Name
          5519 Tierra Alta Cir
          Street



          Del Valle, TX 78617
          City                                       State                 ZIP Code

           Name and address                                                                                Dates of service

 26a.2. Aubrey Rucker
                                                                                                          From 01/01/2020     To
        Name
          237 Benelli Drive
          Street



          Hutto, TX 78634
          City                                       State                 ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                Dates of service

 26b.1.
                                                                                                          From                To
          Name


          Street




          City                                       State                 ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑
           Name and address                                                                                If any books of account and records are
                                                                                                           unavailable, explain why
 26c.1.


          Name


          Street




          City                                       State                 ZIP Code

 26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address

 26d.1.
          Name


          Street




          City                                       State                 ZIP Code



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                Name
 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
          Name of the person who supervised the taking of the inventory                             Date of             The dollar amount and basis (cost, market, or
                                                                                                    inventory           other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                       State                 ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                            Address                                                            Position and nature of any            % of interest, if any
                                                                                                             interest

         Maxwell Rucker                  1002 Cedar Falls Street Round Rock, TX 78681                       CEO, Owner                                        100.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                            Address                                                         Position and nature of any       Period during which
                                                                                                          interest                         position or interest was
                                                                                                                                           held

                                                                                                      ,                                     From
                                                                                                                                            To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ❑ No
         ✔ Yes. Identify below.
         ❑
          Name and address of recipient                                          Amount of money or description              Dates                 Reason for providing
                                                                                 and value of property                                             the value


 30.1. Maxwell Rucker                                                                6/30/2022 - 4/27/2023 = $72,940.00     4/27/2023           Owner/CEO
       Name                                                                                                                                     Payments
         1002 Cedar Falls Street
         Street



         Round Rock, TX 78681
         City                                     State        ZIP Code


          Relationship to debtor

         Owner

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑

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            Name

      ❑ Yes. Identify below.
           Name of the parent corporation                                                            Employer Identification number of the parent corporation

                                                                                                    EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
           Name of the pension fund                                                                  Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          06/29/2023
                     MM/ DD/ YYYY




    ✘ /s/ Maxwell Rucker                                                 Printed name                      Maxwell Rucker
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor                 CEO




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Western District of Texas

In re        MRUCKER INDUSTRIES, INC.

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                     $52,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                    $52,500.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        06/29/2023                                              /s/ Robert C Lane
                Date                                         Robert C Lane
                                                             Signature of Attorney
                                                                                            Bar Number: 24046263
                                                                                                The Lane Law Firm
                                                                                           6200 Savoy Dr Ste 1150
                                                                                           Houston, TX 77036-3369
                                                                                            Phone: (713) 595-8200
                                                                                               Fax: (713) 595-8201

                                                                               The Lane Law Firm
                                                            Name of law firm




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ALLY AUTOMOTIVE
FINANCING
ATTN BANKRUPTCY DEPT
P. O. BOX 130424
SAINT PAUL, MN 55113-0004


AMSHER COLLECTION
SERVICES, INC.
4524 SOUTHLAKE PARKWAY SUITE 15
BIRMINGHAM, AL 35244



ANSHUL JAIN, ET AL.
3810 BRUSHY CREEK ROAD UNIT 52
CEDAR PARK, TX 78613




ASCENTIUM CAPITAL
23970 US-59
KINGWOOD, TX 77339




AUBREY THRASHER, LLC
1170 PEACHTREE STREET SUITE 1925
ATLANTA, GA 30309




BELLISSIMO CABINET DOORS
125 HOLMES RD #5
LIBERTY HILL, TX 78642




BLUE DIAMOND M.E.P.
237 BENELLI DRIVE
HUTTO, TX 78634




BLUE DIAMOND REMODELING
237 BENELLI DRIVE
HUTTO, TX 78634
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ARIEL BOUSKILA
80 BROAD STREET SUITE 3303
NEW YORK, NY 10004




CHASE
PO BOX BOX 78039
PHOENIX, AZ 85062




CHASE CARDMEMBER
SERVICES
PO BOX 6294
CAROL STREAM, IL 60197



CHASE NATIONAL PAYMENT
SERVICES
PO BOX 182223 MAIL CODE: OH1-1272
COLUMBUS, OH 43218



CHRIS SPENE
C/O KAPLAN LAW FIRM PLLC
3901 S LAMAR BLVD SUITE 260
AUSTIN, TX 78704



CIT BANK
155 COMMERCE WAY
PORTSMOUTH, NH 03801-3243




CIT BANK DIRECT CAPITAL
155 COMMERCE WAY
PORTSMOUTH, NH 03801




COOK INDUSTRIES
1214 NORTHPOINT DRIVE
SAN MARCOS, TX 78666
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DIAMOND MILLWORKS
237 BENELLI DRIVE
HUTTO, TX 78634




ELLIOTT ELECTRIC SUPPLY
300 EAST NEW HOPE ROAD
CEDAR PARK, TX 78613




EXOTIC STONEWORKS
237 BENELLI DRIVE
HUTTO, TX 78634




FOX CAPITAL GROUP
65 BROADWAY SUITE 804
NEW YORK, NY 10006




FOX CAPITAL GROUP, INC.
140 BROADWAY 4TH FLOOR
NEW YORK, NY 10005




GOLD FUNDING GROUP
262 ALBANY AVENUE
BROOKLYN, NY 11213




GRUENE ENVIRONMENTAL
SERVICES LLC
1659 W STATE HIGHWAY 46 STE 115
#411
NEW BRAUNFELS, TX 78132


HARDWARE RESOURCES
PO BOX 732674
DALLAS, TX 75373
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HOME DEPOT CREDIT
SERVICES
PO BOX 790345
SAINT LOUIS, MO 63179



INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101-7346




IOU FINANCIAL
600 TOWNPARK LANE SUITE 100
KENNESAW, GA 30144




KAPITUS LLC
2500 WILSON BOULEVARD SUITE 350
ARLINGTON, VA 22201




KONICA MINOLTA BUSINESS
SOLUTIONS
DEPT LA 22988
PASADENA, CA 91185



LG FUNDING LLC
1218 UNION ST SUITE 2
BROOKLYN, NY 11225




M2 EQUIPMENT FINANCE
175 N PATRICK BLVD STE. 140
BROOKFIELD, WI 53045-5819




MRUCKER INDUSTRIES, INC.
237 BENELLI DRIVE
HUTTO, TX 78634
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NEWCO CAPITAL GROUP
25 ROBERT PITT DR 204
MONSEY, NY 10952




NITEL, LLC
350 N. ORLEANS STREET SUTIE 1300N
CHICAGO, IL 60654




ORANGE MONKEY MOTORS,
LLC
237 BENELLI DRIVE
HUTTO, TX 78634



PHOEBE ROBINSON
C/O ESPINOZA LAW FIRM PLLC
10202 HERITAGE BLVD
SAN ANTONIO, TX 78216



PNC BANK
PO BOX 71335
PHILADELPHIA, PA 19176-1335




PROTRADE CREDIT
PO BOX 105525
ATLANTA, GA 30348-5525




REMODEL MANAGEMENT LLC
1151 PROVIDENT LN STE A
ROUND ROCK, TX 78664




MAXWELL RUCKER
237 BENELLI DRIVE
HUTTO, TX 78634
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STEARNS BANK LEASING
PO BOX 750
500 13TH STREET
ALBANY, MN 56307



THE LANE LAW FIRM
6200 SAVOY DR STE 1150
HOUSTON, TX 77036-3369




U.S. SMALL BUSINESS
ADMINISTRATION
1545 HAWKINS BLVD 202
EL PASO, TX 79925



WELLS FARGO AUTO FINANCE
BANKRUPTCY DEPT
1100 CORPORATE CENTER DR. BLDG. A
FL 03
RALEIGH, NC 27607


WEX BANK
P.O. BOX 4337
CAROL STREAM, IL 60197




WINSTON WATER COLLER OF
AUSTIN, LTD
15605 TACON LANE
PFLUGERVILLE, TX 78660
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF TEXAS
                                                             AUSTIN DIVISION

IN RE: MRUCKER INDUSTRIES, INC.                                                       CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      06/29/2023            Signature                                 /s/ Maxwell Rucker
                                                                          Maxwell Rucker, CEO
